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                  United States Court of Appeals
                                FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 17-7109                                                    September Term, 2016
                                                                          1:16-cv-00808-TSC
                                                      Filed On: July 17, 2017 [1684492]
Nicole Rena McCrea,

               Appellant

       v.

District of Columbia, et al.,

               Appellees

                                            ORDER

      It is ORDERED, on the court's own motion, that this case be held in abeyance
pending the district court's resolution of Appellant's motion for leave to proceed on
appeal in forma pauperis.

        The Clerk is directed to transmit a copy of this order to the district court. The
district court is requested to notify this court promptly following its disposition of the
motion.

                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                     BY:     /s/
                                                             Laura M. Chipley
                                                             Deputy Clerk
